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                                 EXHIBIT 6



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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  [PENDING MOTION TO FILE EXHIBIT 6 UNDER SEAL]

       The United States has moved to attach Exhibit 6 as a sealed appendix per Paragraph 8.B
of MDL No. 2179 Pre-Trial Order # 13 (Order Protecting Confidentiality), which mandates that
documents which have been designated as “Confidential” or “Highly Confidential” must be filed
under seal as an appendix to the instrument that refers to them.
